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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE


    In re:                                                  Chapter 11

    FRANCHISE GROUP, INC., et al., 1                        Case No. 24-12480 (JTD)

                               Debtors.                     (Jointly Administered)


                     NOTICE OF AGENDA FOR HEARING OF MATTERS
                   SCHEDULED FOR JANUARY 21, 2025 AT 10:00 A.M. (ET)


                                          [Continued on Next Page]




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     The Debtors in these Chapter 11 Cases, along with the last four digits of their U.S. federal tax identification
     numbers, to the extent applicable, are Franchise Group, Inc. (1876), Freedom VCM Holdings, LLC (1225),
     Freedom VCM Interco Holdings, Inc. (2436), Freedom Receivables II, LLC (4066), Freedom VCM Receivables,
     Inc. (0028), Freedom VCM Interco, Inc. (3661), Freedom VCM, Inc. (3091), Franchise Group New Holdco, LLC
     (0444), American Freight FFO, LLC (5743), Franchise Group Acquisition TM, LLC (3068), Franchise Group
     Intermediate Holdco, LLC (1587), Franchise Group Intermediate L, LLC (9486), Franchise Group Newco
     Intermediate AF, LLC (8288), American Freight Group, LLC (2066), American Freight Holdings, LLC (8271),
     American Freight, LLC (5940), American Freight Management Company, LLC (1215), Franchise Group
     Intermediate S, LLC (5408), Franchise Group Newco S, LLC (1814), American Freight Franchising, LLC (1353),
     Home & Appliance Outlet, LLC (n/a), American Freight Outlet Stores, LLC (9573), American Freight Franchisor,
     LLC (2123), Franchise Group Intermediate B, LLC (7836), Buddy’s Newco, LLC (5404), Buddy’s Franchising
     and Licensing LLC (9968), Franchise Group Intermediate V, LLC (5958), Franchise Group Newco V, LLC
     (9746), Franchise Group Intermediate BHF, LLC (8260), Franchise Group Newco BHF, LLC (4123), Valor
     Acquisition, LLC (3490), Vitamin Shoppe Industries LLC (3785), Vitamin Shoppe Global, LLC (1168), Vitamin
     Shoppe Mariner, LLC (6298), Vitamin Shoppe Procurement Services, LLC (8021), Vitamin Shoppe Franchising,
     LLC (8271), Vitamin Shoppe Florida, LLC (6590), Betancourt Sports Nutrition, LLC (0470), Franchise Group
     Intermediate PSP, LLC (5965), Franchise Group Newco PSP, LLC (2323), PSP Midco, LLC (6507), Pet Supplies
     “Plus”, LLC (5852), PSP Group, LLC (5944), PSP Service Newco, LLC (6414), WNW Franchising , LLC (9398),
     WNW Stores, LLC (n/a), PSP Stores, LLC (9049), PSP Franchising, LLC (4978), PSP Subco, LLC (6489), PSP
     Distribution, LLC (5242), Franchise Group Intermediate SL, LLC (2695), Franchise Group Newco SL, LLC
     (7697), and Educate, Inc. (5722). The Debtors’ headquarters is located at 109 Innovation Court, Suite J,
     Delaware, Ohio 43015.
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     This proceeding will be conducted in-person. All counsel and witnesses are expected to
                     attend unless permitted to appear remotely via Zoom.

          Please refer to Judge Dorsey’s Chambers Procedures and the Court’s website
      (http://www.deb.uscourts.gov/ecourt-appearances) for information on the method of
          allowed participation (video or audio), Judge Dorsey’s expectations of remote
                    participants, and the advance registration requirements.

 Registration is required by 4:00 p.m. (Eastern Time) the business day before the hearing
       unless otherwise noticed using the eCourtAppearances tool available on the
                                     Court’s website.

       To attend this hearing remotely, please register using the eCourtAppearances tool
        (available here or on the Court’s website (http://www.deb.uscourts.gov/ecourt-
                                         appearances))

      YOU MUST USE YOUR FULL NAME WHEN LOGGING INTO ZOOM OR YOU
                 WILL NOT BE ALLOWED INTO THE MEETING.

ADJOURNED MATTER

1.       Debtors’ Application for Order Authorizing the Retention and Employment of Willkie Farr
         & Gallagher LLP as Co-Counsel for the Debtors, Nunc Pro Tunc to the Petition Date
         [D.I. 474, 12/19/24]

         Objection Deadline: January 3, 2025, at 4:00 p.m. (ET); extended for the Office of the
                             United States Trustee for the District of Delaware to January 8, 2025
                             at 4:00 p.m. (ET) and the Ad Hoc Group of Freedom Lenders to
                             January 15, 2025 at 11:59 p.m. (ET)

         Related Documents:

             A. Debtors’ Notice of Deposition to the Settlement-Related Liquidating Trust 2022-
                23 Pursuant to Rule 30(b)(6) of the Federal Rules of Civil Procedure [D.I. 720,
                1/10/25]

             B. Limited Response of B. Riley to the Objection of the United States Trustee to
                Debtors’ Application for an Order Authorizing the Retention and Employment of
                Willkie Farr & Gallagher LLP as Co-Counsel for the Debtors Nunc Pro Tunc to the
                Petition Date [D.I. 751, 1/16/25]

         Responses Received:

             C. Objection of the Settlement-Related Liquidating Trust 2022-23 to the Debtors’
                Application for an Order Authorizing the Retention and Employment of Willkie
                Farr & Gallagher LLP as Co-Counsel for the Debtors, Nunc Pro Tunc to the Petition
                Date [D.I. 642, 1/3/25]

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        D. Objection of the United States Trustee to Debtors’ Application for an Order
           Authorizing the Retention and Employment of Willkie Farr & Gallagher LLP as
           Co-Counsel for the Debtors Nunc Pro Tunc to the Petition Date [D.I. 730, 1/13/25]

     Status:               This matter had been adjourned to the omnibus hearing date
                           scheduled for February 6, 2025 at 10:00 a.m. (ET).

RESOLVED MATTERS

2.   Debtors’ Application for Entry of an Order (I) Authorizing the Retention and Employment
     of Ernst & Young LLP as Tax, Accounting and Valuation Services Provider, Effective as
     of November 3, 2024 [D.I. 293, 12/3/24]

     Objection Deadline: December 17, 2024 at 4:00 p.m. (ET); extended to December 23,
                         2024 for the Office of the United States Trustee for the District of
                         Delaware.

     Related Documents:

        A. Certificate of No Objection Regarding Docket No. 293 [D.I. 494, 12/23/24]

        B. Order (I) Authorizing the Retention and Employment of Ernst & Young LLP as
           Tax, Accounting and Valuation Services Provider Effective as of November 3,
           2024, and (II) Granting Related Relief [D.I. 669, 1/7/25]

     Responses Received: None.

     Status:               An order has been entered. A hearing is not required.

3.   Debtors’ Application for Entry of an Order Authorizing the Retention and Employment of
     Deloitte & Touche LLP as Independent Auditor Effective as of the Petition Date [D.I. 295,
     12/3/24]

     Objection Deadline: December 17, 2024 at 4:00 p.m. (ET)

     Related Documents:

        A. Certificate of No Objection Regarding Docket No. 295 [D.I. 464, 12/18/24]

        B. Order Authorizing the Retention and Employment of Deloitte & Touche LLP as
           Independent Auditor Effective as of the Petition Date [D.I. 670, 1/7/25]

     Responses Received: None.

     Status:               An order has been entered. A hearing is not required.




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4.   Debtors’ Fourth Omnibus Motion for Entry of an Order, Pursuant to Sections 105(a),
     365(a), and 554 of the Bankruptcy Code Authorizing the Debtors to (I) Reject Certain
     Unexpired Leases and Executory Contracts, Effective as of the Rejection Date; and
     (II) Abandon Personal Property [D.I. 433, 12/13/24]

     Objection Deadline: December 27, 2024 at 4:00 p.m. (ET)

     Related Documents:

        A. Certification of Counsel Regarding Revised Proposed Fourth Omnibus Order,
           Pursuant to Sections 105(a), 365(a), and 554 of the Bankruptcy Code Authorizing
           the Debtors to (I) Reject Certain Unexpired Leases, and Executory Contracts,
           Effective as of the Rejection Date and (II) Abandon Personal Property [D.I. 585,
           12/30/24]

        B. Fourth Omnibus Order, Pursuant to Sections 105(a), 365(a), and 554 of the
           Bankruptcy Code Authorizing the Debtors to (I) Reject Certain Unexpired Leases,
           and Executory Contracts, Effective as of the Rejection Date and (II) Abandon
           Personal Property [D.I. 677, 1/8/25]

     Responses Received:

        C. Informal Response from Malco TIC

     Status:               An order has been entered. A hearing is not required.

5.   Debtors’ Fifth Omnibus Motion for Entry of an Order, Pursuant to Sections 105(a) and
     365(a) of the Bankruptcy Code Authorizing the Debtors to Reject Certain Executory
     Contracts, Effective as of the Rejection Date [D.I. 451, 12/16/24]

     Objection Deadline: December 30, 2024 at 4:00 p.m. (ET)

     Related Documents:

        A. Certificate of No Objection Regarding Docket No. 451 [D.I. 598, 1/2/25]

        B. Fifth Omnibus Order Authorizing the Debtors to Reject Certain Executory
           Contracts Effective as of the Rejection Date [D.I. 678, 1/8/25]

     Responses Received: None.

     Status:               An order has been entered. A hearing is not required.




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6.   Debtors’ Application for an Order Authorizing the Retention and Employment of Young
     Conaway Stargatt & Taylor, LLP as Co-Counsel for the Debtors, Effective as of the
     Petition Date [D.I. 475, 12/19/24]

     Objection Deadline: January 3, 2025 at 4:00 p.m. (ET)

     Related Documents:

        A. Certificate of No Objection Regarding Docket No. 475 [D.I. 689, 1/9/25]

        B. Order Authorizing the Retention and Employment of Young Conaway Stargatt &
           Taylor, LLP as Co-Counsel for the Debtors, Effective as of the Petition Date
           [D.I. 715, 1/10/25]

     Responses Received:

        C. Informal Response for the Office of the United States Trustee for the District of
           Delaware

     Status:               An order has been entered. A hearing is not required.

7.   Debtors’ Second Motion for Entry of an Order Extending Time to File Schedules of Assets
     and Liabilities and Statements of Financial Affairs [D.I. 482, 12/20/24]

     Objection Deadline: January 3, 2025 at 4:00 p.m. (ET)

     Related Documents:

        A. Certificate of No Objection Regarding Docket No. 482. [D.I. 662, 1/6/25]

        B. Order Extending Time to File Schedules of Assets and Liabilities and Statements
           of Financial Affairs [D.I. 671, 1/7/25]

     Responses Received: None.

     Status:               An order has been entered. A hearing is not required.

8.   Debtors’ Motion for Entry of an Order Authorizing the Debtors to Seal Certain Confidential
     Information in Connection with Certain Debtors’ Statements of Financial Affairs [D.I. 559,
     12/24/24]

     Objection Deadline: January 7, 2025 at 4:00 p.m. (ET)

     Related Documents:

        A. Certificate of No Objection Regarding Docket No. 559 [D.I. 684, 1/8/25]



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         B. Order Authorizing the Debtors to Seal Certain Confidential Information in
            Connection with Certain Debtors’ Statements of Financial Affairs [D.I. 710,
            1/10/25]

      Responses Received: None.

      Status:               An order has been entered. A hearing is not required.

9.    Debtors’ Sixth Omnibus Motion for Entry of an Order, Pursuant to Sections 105(a), 365(a),
      and 554 of the Bankruptcy Code Authorizing the Debtors to (I) Reject Certain Unexpired
      Leases, Effective as of the Rejection Date; and (II) Abandon Personal Property [D.I. 586,
      12/30/24]

      Objection Deadline: January 8, 2025 at 4:00 p.m. (ET)

      Related Documents:

         A. Certificate of No Objection Regarding Docket No. 586 [D.I. 696, 1/9/25]

         B. Sixth Omnibus Order, Pursuant to Sections 105(a), 365(a), and 554 of the
            Bankruptcy Code Authorizing the Debtors to (I) Reject Certain Unexpired Leases,
            Effective as of the Rejection Date; and (II) Abandon Personal Property [D.I. 713,
            1/10/25]

      Responses Received: None.

      Status:               An order has been entered. A hearing is not required.

10.   Debtors’ Seventh Omnibus Motion for Entry of an Order, Pursuant to Sections 105(a),
      365(a), and 554 of the Bankruptcy Code Authorizing the Debtors to (I) Reject Certain
      Unexpired Leases, Effective as of the Rejection Date; and (II) Abandon Personal Property
      [D.I. 587, 12/30/24]

      Objection Deadline: January 8, 2025 at 4:00 p.m. (ET); extended for Store No. 300 in
                          Layton, UT to January 9, 2025 at 4:00 p.m. (ET)

      Related Documents:

         A. Certification of Counsel Regarding Revised Proposed Seventh Omnibus Order,
            Pursuant to Sections 105(a), 365(a), and 554 of the Bankruptcy Code Authorizing
            the Debtors to (I) Reject Certain Unexpired Leases, Effective as of the Rejection
            Date and (II) Abandon Personal Property [D.I. 732, 1/13/25]

         B. Seventh Omnibus Order, Pursuant to Sections 105(a), 365(a), and 554 of the
            Bankruptcy Code Authorizing the Debtors to (I) Reject Certain Unexpired Leases,
            Effective as of the Rejection Date and (II) Abandon Personal Property [D.I. 746,
            1/15/25]


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      Responses Received:

         C. Informal Response from Mel Indiana, LLC

      Status:               An order has been entered. A hearing is not required.

11.   Debtors’ Eighth Omnibus Motion for Entry of an Order, Pursuant to Sections 105(a),
      365(a), and 554 of the Bankruptcy Code Authorizing the Debtors to (I) Reject Certain
      Unexpired Leases, Effective as of the Rejection Date; and (II) Abandon Personal Property
      [D.I. 588, 12/30/24]

      Objection Deadline: January 8, 2025, at 4:00 p.m. (ET)

      Related Documents:

         A. Certificate of No Objection Regarding Docket No. 588 [D.I. 701, 1/9/25]

         B. Eighth Omnibus Order, Pursuant to Sections 105(a), 365(a), and 554 of the
            Bankruptcy Code Authorizing the Debtors to (I) Reject Certain Unexpired Leases,
            Effective as of the Rejection Date; and (II) Abandon Personal Property [D.I. 714,
            1/10/25]

      Responses Received: None.

      Status:               An order has been entered. A hearing is not required.

12.   Debtors’ Ninth Omnibus Motion for Entry of an Order, Pursuant to Sections 105(a), 365(a),
      and 554 of the Bankruptcy Code Authorizing the Debtors to Reject Certain Unexpired
      Executory Contracts, Effective as of the Rejection Date [D.I. 590, 12/30/24]

      Objection Deadline: January 8, 2025, at 4:00 p.m. (ET); extended for Field
                          Manufacturing Corp. to January 9, 2025 at 4:00 p.m. (ET)

      Related Documents:

         A. Certificate of No Objection Regarding Docket No. 590 [D.I. 727, 1/13/25]

         B. Ninth Omnibus Order, Pursuant to Sections 105(a), 365(a), and 554 of the
            Bankruptcy Code Authorizing the Debtors to Reject Certain Unexpired Executory
            Contracts, Effective as of the Rejection Date [D.I. 737, 1/14/25]

      Responses Received: None.

      Status:               An order has been entered. A hearing is not required.




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MATTERS GOING FORWARD

13.   Debtors’ Motion for an Order (I) Approving the Disclosure Statement; (II) Approving
      Solicitation and Voting Procedures, Including (A) Fixing the Voting Record Date,
      (B) Approving the Solicitation Packages and Procedures for Distribution, (C) Approving
      the Form of the Ballots and Solicitation Materials and Establishing Procedures for Voting,
      and (D) Approving Procedures for Vote Tabulation; (III) Scheduling a Confirmation
      Hearing and Establishing Notice and Objection Procedures; and (IV) Granting Related
      Relief [D.I. 152, 11/11/24]

      Objection Deadline: December 10, 2024, at 4:00 p.m. (ET); extended for (a) all parties
                          to January 3, 2025 at 4:00 p.m. (ET); (b) Barclay Damon, the U.S.
                          Trustee and the Ad Hoc Group of Freedom Lenders to January 8,
                          2025 at 4:00 p.m. (ET); (c) certain Landlords to January 9, 2025 at
                          4:00 p.m. (ET); (d) the ABL Lenders to January 14, 2025 at
                          12:00 p.m. (ET); and (e) with the permission of the Court, the
                          Official Committee of Unsecured Creditors to January 16, 2025 at
                          12:00 p.m. (ET).

      Related Documents:

         A. Joint Chapter 11 Plan of Franchise Group, Inc. and Its Affiliated Debtors [D.I. 150,
            11/11/24]

         B. Disclosure Statement for the Joint Chapter 11 Plan of Franchise Group, Inc. and Its
            Affiliated Debtors [D.I. 151, 11/11/24]

         C. Notice of Hearing to Consider Approval of Disclosure Statement [D.I. 153,
            11/11/24]

         D. Notice of Rescheduled Disclosure Statement Hearing [D.I. 373, 12/9/24]

         E. First Amended Joint Chapter 11 Plan of Franchise Group, Inc. and Its Affiliated
            Debtors [D.I. 654, 1/3/25]

         F. Disclosure Statement for the First Amended Joint Chapter 11 Plan of Franchise
            Group, Inc. and Its Affiliated Debtors [D.I. 655, 1/3/25]

         G. Notice of Filing of Blacklines of First Amended (I) Joint Chapter 11 Plan of
            Franchise Group, Inc. and Its Affiliated Debtors; and (II) Disclosure Statement for
            the First Amended Joint Chapter 11 Plan of Franchise Group, Inc. and Its Affiliated
            Debtors [D.I. 656, 1/3/25]




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         H. Notice of Filing of Revised Proposed Order (I) Approving the Disclosure
            Statement; (II) Approving Solicitation and Voting Procedures, Including (A) Fixing
            the Voting Record Date, (B) Approving the Solicitation Packages and Procedures
            for Distribution, (C) Approving the Form of the Ballots and Solicitation Materials
            and Establishing Procedures for Voting, and (D) Approving Procedures for Vote
            Tabulation; (III) Scheduling a Confirmation Hearing and Establishing Notice and
            Objection Procedures; and (IV) Granting Related Relief [D.I. 657, 1/3/25]

         I. Declaration of Samuel P. Hershey in Support of the Objection of the Ad Hoc Group
            of Freedom Lenders to the Debtors’ Disclosure Statement [D.I. 687, 1/9/25]

      Responses Received:

         J. Accelerated Services, Inc. [D.I. 434, 12/13/24; D.I. 441, 12/16/24]

         K. Limited Objection of the U.S. Securities and Exchange Commission to Debtors’
            Motion for Entry of an Order Approving the Adequacy of the Disclosure Statement
            [D.I. 486, 12/20/24]

         L. United States Trustee’s Omnibus Objection to (I) Disclosure Statement for the Joint
            Chapter 11 Plan of Franchise Group, Inc. and Its Affiliated Debtors, and
            (II) Debtors Motion for an Order, inter alia, Approving Solicitation and Tabulation
            Procedures [D.I. 679, 1/8/25]

         M. Objection of the Ad Hoc Group of Freedom Lenders to Debtors’ Disclosure
            Statement Motion [D.I. 686, 1/8/25]

      Status:       This matter is going forward.

14.   Debtors’ Application for Entry of an Order (I) Authorizing the Retention and Employment
      of Ducera Partners LLC as Investment Banker to the Debtors Effective as of the Petition
      Date, and (II) Granting Related Relief [D.I. 258, 11/26/24]

      Objection Deadline: December 10, 2024, at 4:00 p.m. (ET); extended for the United
                          States Trustee for the District of Delaware until December 12, 2024
                          at 4:00 p.m. (ET); and, with permission of the Court, extended for
                          the Ad Hoc Group of First Lien Lenders to January 17, 2025 at
                          12:00 p.m. (ET)

      Related Documents: None to date.

      Responses Received:

         A. Informal Comments from the Office of the United States Trustee

         B. Informal Comments from the Official Committee of Unsecured Creditors

         C. Informal Comments from the Ad Hoc Group of First Lien Lenders
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      Status:               The parties are continuing to work consensually to resolve this
                            matter. Item A remains pending, subject to continued discussions
                            and providing the Office of the United States Trustee with an
                            opportunity to review any proposed form of revised order.
                            Currently, this matter is going forward.

15.   Motion of the Debtors’ for Entry of Order (A) Approving the Private Sale of Certain of
      Debtors’ Assets Free and Clear of Liens, Claims, and Encumbrances, with Such Interests
      to Attach to the Proceeds, and (B) Granting Related Relief [D.I. 435, 12/13/24]

      Objection Deadline: December 10, 2024, at 4:00 p.m. (ET); extended for all parties to
                          January 3, 2025 at 4:00 p.m. (ET)

      Related Documents:

         A. Declaration of Michael S. Piper in Support of Motion of Debtors for Entry of Order
            (A) Approving the Private Sale of Certain of Debtors’ Assets Free and Clear of
            Liens, Claims, and Encumbrances, with Such Interests to Attach to the Proceeds,
            and (B) Granting Related Relief [D.I. 483, 12/20/24]

         B. Declaration of David Orlofsky in Support of Motion of Debtors for Entry of Order
            (A) Approving the Private Sale of Certain of Debtors’ Assets Free and Clear of
            Liens, Claims, and Encumbrances, with Such Interests to Attach to the Proceeds,
            and (B) Granting Related Relief [D.I. 484, 12/20/24]

         C. Certification of Counsel Regarding Revised Proposed Order (A) Authorizing
            Debtors to Sell by Private Sale Certain of Debtors’ Assets Free and Clear of Liens,
            Claims, and Encumbrances, with such Interests to Attach to the Proceeds, and
            (B) Granting Related Relief [D.I. 653, 1/3/25]

                        i. Notice of Withdrawal of Docket No. 653 [D.I. 688, 1/9/25]

         D. Certification of Counsel Regarding Revised Proposed Order (A) Authorizing
            Debtors to Sell by Private Sale Certain of Debtors’ Assets Free and Clear of Liens,
            Claims, and Encumbrances, with Such Interests to Attach to the Proceeds, and (B)
            Granting Related Relief [D.I. 692, 1/9/25]

         E. Order (A) Authorizing Debtors to Sell by Private Sale Certain of Debtors’ Assets
            Free and Clear of Liens, Claims and Encumbrances, with such Interests to Attach
            to the Proceeds, and (B) Granting Related Relief [D.I. 712, 1/10/25]

      Responses Received:

         F. Informal Response from the Office of the United States Trustee for the District of
            Delaware

         G. Informal Response from Ellis Chai, LLC

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H. Informal Response from 30X30 34th Street Lubbock Partners, LLC

I. Informal Response from Counsel to Lichtefield Development Trust

J. Objection of 6001 Powerline Road, LLC to Motion of Debtors for Entry of Order
   (A) Approving the Private Sale of Certain of Debtors’ Assets Free and Clear of
   Liens, Claims, and Encumbrances, with such Interests to Attach to the Proceeds,
   and (B) Granting Related Relief [D.I. 570, 12/26/24]

K. Objection of 4116 OBT Investments, LLC and 1230 Zion, LLC to the Motion of
   Debtors for Entry of Order (A) Approving the Private Sale of Certain of Debtors’
   Assets Free and Clear of Liens, Claims and Encumbrances, with such Interests to
   Attach to the Proceeds, and (B) Granting Related Relief [D.I. 572, 12/27/24]

L. Objection of SW 17th Street 1010, LLC, Niagara Falls 778, LLC, Rodi Road 501,
   LLC, and Merchant 33, LLC to the Motion of Debtors for Entry of Order
   (A) Approving the Private Sale of Certain of Debtors’ Assets Free and Clear of
   Liens, Claims and Encumbrances, with such Interests to Attach to the Proceeds,
   and (B) Granting Related Relief [D.I. 573, 12/27/24]

M. Limited Objection and Reservation of Rights of Tride Family Holdings, LLC to
   Motion of Debtors for Entry of Order (A) Approving the Private Sale of Certain of
   the Debtors’ Assets Free and Clear of Liens, Claims, and Encumbrances, with such
   Interests to Attach to the Proceeds, and (B) Granting Related Relief [D.I. 574,
   12/27/24]

N. Limited Objection and Reservation of Rights of Prologis, L.P. to Motion of Debtors
   for Entry of Order (A) Approving the Private Sale of Certain of Debtors’ Assets
   Free and Clear of Liens, Claims, and Encumbrances, with such Interests to Attach
   to the Proceeds, and (B) Granting Related Relief [D.I. 575, 12/27/24]

O. Objection and Reservation of Rights of Kin Properties Inc. and Its Affiliated
   Landlords to Motion of Debtors for Entry of Order (A) Approving the Private Sale
   of Certain of Debtors’ Assets Free and Clear of Liens, Claims, and Encumbrances,
   with such Interests to Attach to the Proceeds, and (B) Granting Related Relief
   [D.I. 576, 12/27/24]

P. Amended Objection of SW 17th Street 1010, LLC, Niagara Falls 778, LLC, Rodi
   Road 501, LLC, and Merchant 33, LLC to the Motion of Debtors for Entry of Order
   (A) Approving the Private Sale of Certain of Debtors’ Assets Free and Clear of
   Liens, Claims and Encumbrances, with such Interests to Attach to the Proceeds,
   and (B) Granting Related Relief [D.I. 577, 12/27/24]

Q. Objection of Buddy Mac Holdings, LLC to the Motion of Debtors for Entry of
   Order (A) Approving the Private Sale of Certain of the Debtors’ Assets Free and
   Clear of Liens, Claims, and Encumbrances, with such Interests to Attach to the
   Proceeds, and (B) Granting Related Relief, and Reservation of Rights [D.I. 578,
   12/27/24]

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         R. Objection by Daniel P. Hagaman to Proposed Assumption of Lease in Connection
            with Motion of Debtors for Entry of Order (A) Approving the Private Sale of
            Certain of Debtors Assets Free and Clear of Liens, Claims and Encumbrances, with
            Such Interests to Attach to the Proceeds, and (B) Granting Related Relief [D.I. 646,
            1/3/25]

         S. Limited Objection and Reservation of Rights of Brierwood Village LLC to Motion
            of Debtors for Entry of Order (A) Approving the Private Sale of Certain of Debtors’
            Assets Free and Clear of Liens, Claims and Encumbrances, with Such Interests to
            Attach to the Proceeds, and (B) Granting Related Relief [D.I. 675, 1/7/25]

                       i.Withdrawal of Limited Objection and Reservation of Rights of
                         Brierwood Village LLC to Motion of Debtors for Entry of Order
                         (A) Approving the Private Sale of Certain of Debtors’ Assets Free and
                         Clear of Liens, Claims and Encumbrances, with Such Interests to Attach
                         to the Proceeds, and (B) Granting Related Relief [D.I. 676, 1/8/25]

      Status:           Items O and S have been resolved, subject to documentation, and the
                        Debtors anticipate filing a supplemental order with respect to such
                        items. Items G, H, I, J, K, P, and Q are currently going forward. All
                        other items have been resolved pursuant to an order entered on January
                        10, 2025 [D.I. 712].

16.   Application of the Official Committee of Unsecured Creditors for Authorization to Employ
      and Retain Pachulski Stang Ziehl & Jones LLP as Counsel to the Official Committee of
      Unsecured Creditors Effective as of November 21, 2024 [D.I. 488, 12/20/24]

      Objection Deadline: January 8, 2025 at 4:00 p.m. (ET)

      Related Documents: None.

      Responses Received:

         A. Informal Comments from the Office of the United States Trustee

      Status:               The Committee anticipates filing a revised proposed form of order
                            under certification of counsel in advance of the hearing.

17.   Application for Entry of an Order Authorizing and Approving the Employment of
      Province, LLC as Financial Advisor to the Official Committee of Unsecured Creditors
      Effective as of November 21, 2024 [D.I. 489, 12/20/24]

      Objection Deadline: January 8, 2025 at 4:00 p.m. (ET)

      Related Documents: None.




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      Responses Received:

          A. Informal Comments from the Office of the United States Trustee

      Status:               The Committee anticipates filing a revised proposed form of order
                            under certification of counsel in advance of the hearing.


Dated: January 16, 2025
       Wilmington, Delaware

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